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                                                     U.S. Department of Justice

                                                     Criminal Division
                                                     Office of Enforcement Operations
                                                     International Prisoner Transfer Unit

                                                      Washington, D.C. 20530




Chris Hill, Director                                                       Q
Institutional Reintegration Operations
Correctional Service of Canada
340 Laurier Avenue West
Ottawa, Ontario KlA 0P9
Canada

           Re:     Matthew David Sluss, Reg. No. 52455-037
                   Denial of Request to Transfer to Canada

Dear Mr. Hill:

      After considering all of the appropriate factors in this transfer application, the United
States has denied the request to transfer to Canada. The prisoner is currently incarcerated at the
Petersburg Medium Federal Correctional Institution, Petersburg, Virginia. The United States
denied the transfer application because of the seriousness of the offense, because the applicant
has become a domiciliary of the United States, because the prisoner is a poor candidate due to his
criminal history and because the prisoner has insufficient contacts with the receiving country.

         There is no administrative appeal from this decision. The prisoner may reapply two years
from the date of this letter, at which time, the United States will review the information already
available, as well as any new information that the prisoner provides. If the prisoner believes that
the circumstances relating to the denial of the transfer application have changed significantly, the
prisoner may write to the Department of Justice to seek a reconsideration of the transfer decision
earlier than two years from the date of this letter. Unless the prisoner is able to show that the
reasons supporting the denial of his transfer application have changed substantially, it is unlikely
that the United States will change its decision.

                                                           Sincerely,



                                                           Paula A. Wolff, Chief
                                                           International Prisoner Transfer Unit


    cc:    Helene Bouchard, Embassy of Canada, Washington, D.C.
           Michael Harris, Federal Bureau of Prisons, Washington, D.C.
           Matthew David Sluss
